UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK " @ °

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GARY CAYETANO
Plaintiff,
AMENDED
VERIFIED COMPLAINT
-against- 14-CV-06877 (JG) (JO)

CITY OF NEW YORK and NEW YORK CITY POLICE
OFFICER JUSTIN FELDMAN, shield # 3843 and POLICE
OFFICER TINA CORTESE, shield #1935

Defendants,

PRELIMINARY STATEMENT

1. This is an action for monetary damages (compensatory and punitive) against the City of
New York, Police Officer JUSTIN FELDMAN, shield # 3823 and Police Officer TINA
CORTESE, SHIELD # 1935, arising out of the false arrest, assault, battery and false
imprisonment of GARY CAYETANO, the complainant herein.

2. On November 3, 2012, at approximately 025 lhours, Police Officer Justin Feldman and
Police Officer Tina Cortese, all of them New York City Police Officers, acting under the color
of State law, intentionally and willfully subjected the Plaintiff to, inter alia, assault, battery,
excessive force, false arrest, false imprisonment and detention for acts of which the Plaintiff was
innocent.

JURISDICTION

3. This action is brought pursuant to 28 U.S.C. Sections 1331, 42 U.S.C. Sections 1983 and
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1985, and the Fourth, Fifth and Fourteenth Amendments to the Constitution of the United States,
Pendant jurisdiction, pendant party jurisdiction and supplementary jurisdiction over Plaintifi’s
state law claims is asserted.

4, The amount in controversy exceeds $75,000.00 excluding interest and cost.

5. Venue is laid within the United States District Court for the Eastern District of New York
in that the Defendant City of New York and the Police Department of the City of New York is
located within the Eastern District of New York and a substantial part of the events giving rise to
the claim occurred within the boundaries of the Eastern District of New York.

PARTIES

6. That at all times mentioned herein, the Plaintiff GARY CAYETANO, was and still is a
resident of the County of Richmond, City and State of New York.

7. That at all times hereinafter mentioned, the Defendant CITY OF NEW YORK, was and
still is a municipal corporation duly organized and existing pursuant to the Constitution and Laws
of the State of New York

8. That at all times hereinafter mentioned, the Defendant, City of New York, was and still is
a municipal corporation doing business in the State of New York.

9. That at all times hereinafter mentioned, the individual Defendants, Police Officer Justin
Feldman, shield #3843 and Police Officer Tina Cortese were at all times relevant hereto,
employees of the City of New York as police officers.

10. At all times mentioned herein, defendants were acting under the color of state law, to
wit. Under color of the statutes, ordinances, regulations, policies, custom and usages of the City

and State of New York.
FACTUAL ALLEGATIONS

11. On November 3, 2012, the Defendants maliciously and with intent to injure the
Plaintiff forcibly arrested the Plaintiff at the front of 40 Prospect Street , Staten Island, New
York, forcibly detained the Plaintiff, subjected him to assault and battery, used excessive force to
imprison and detained him there, restrained him of his liberty, without any right to do so, and
against the will of the Plaintiff. The arrest was specifically made by officer Feldman.

12. That on or about November 3, 2012, the defendants, their agents and employees
wrongfully and falsely accused the Plaintiff GARY CAYETANO of the crimes of Disorderly
Conduct, Obstruction of Governmental Administration, 2’ Degree and Resisting Arrest, among
other charges.

13. That the said arrest and imprisonment was caused by the Defendants, their agents,
servants and employees without a warrant, or other legal process, without probable cause and
without authority of the law and without reasonable cause or belief that the Plaintiff GARY
CAYETANO was indeed guilty of the aforesaid crimes.

14. That the Defendants, their agents, and employees acting within the scope of their
authority and within the scope of their employment, wrongfully, unlawfully and without a
sufficient charge having been made against him, detained and imprisoned the Plaintiff GARY
CAYETANO and directed that he be placed under arrest.

15. That the Defendants, their agents and employees had the opportunity to know or
should have known that the Plaintiff GARY CAYETANO was wholly innocent of the aforesaid

criminal charges and did not contribute in any way to the conducts of Defendants, their agents

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and employees and was forced by the Defendants to submit to the aforesaid arrest.

16. That on or about November 3, 2012, the Defendants, their agents and employees
intended to confine the Plaintiff, that the Plaintiff was conscious of said confinement and did not
consent to the confinement and said confinement was not otherwise privileged.

17. That by reason of the false arrest, malicious prosecution, false imprisonment and
detention of the Plaintiff, the Plaintiff was subjected to great indignities, humiliation and ridicule
in being so detained, charged and prosecuted with the various crimes, and greatly injured in his
character, credit and circumstances and has been prevented and hindered from performing and
transacting his necessary affairs and business, and he was caused to suffer much pain both in
mind and body, and loss of employment opportunities.

18. That on or after November 3, 2012 the Defendants, their agents and employees
maliciously prosecuted and detained the Plaintiff GARY CAYETANO without any just grounds
therefore.

19. That the Plaintiff was and is wholly innocent and was forced by the Defendants,
their agents and employees to submit to court proceedings for a protracted period of time
until the case was Adjourned in Contemplation of Dismissal by a judge in the criminal
court.

20. That the said criminal charges and prosecution were instituted and procured by the
Defendants, their agents and employees unlawfully, intentionally, maliciously, in bad faith and
without any reasonable or probable cause whatsoever and with grossly negligent disregard for
Plaintiff's rights, and in violation of the civil and constitutional rights of the Plaintiff, and that

the commencement and continuation of the criminal proceedings by the Defendants, their agents
and employees against the Plaintiff GARY CAYETANO was without probable cause, with
actual malice and was terminated in favor of the Plaintiff.

21. That by reason of the foregoing malicious prosecution, the Plaintiff was deprived of
his liberty, was subjected to great indignity, humiliation, pain and great distress of mind and
body and was held up for scorn and ridicule, was injured in his character and reputation, was
prevented from attending his usual business and vocation, was injured in his reputation in the
community and was caused to lose financially, all to his damage otherwise.

22. At no time did the Plaintiff offer resistance as Police Officer JUSTIN FELDMAN
Police Officer TINA CORTESE and other police officers assaulted and arrested the Plaintiff.

23. The arrest of the Plaintiff was committed by the Defendants without an arrest warrant
or other legal process and without probable cause.

24. The Plaintiff remained in custody for more than 24 HOURS before being brought

before a judge in criminal court and released.

FIRST CAUSE OF ACTION
(EXCESSIVE FORCE )

25. Paragraphs 1 through 24 are incorporated herein by reference.

26, Upon approaching the Plaintiff and arresting him, Defendants made Plaintiff fear for
his physical well being and safety and placed him in apprehension of immediate harmful and/or
offensive touching.

27. That the defendant officers used excessive force to arrest the Plaintiff in that they

physically abused and beat the hell out of Plaintiff in that each of the officers herein named used

their fist to punch the Plaintiff in the mouth and beat the plaintiff with their batons, causing the
Plaintiff to suffer serious injuries.

28. That the defendant officers brutally handcuffed the Plaintiff causing him pain and
numbness to his wrist and that when Plaintiff requested that they loosen the handcuffs the
officers refused.

29. Defendants have deprived the Plaintiff of his civil, constitutional and statutory rights
and are liable to the Plaintiff under 42 U.S.C. Section 1983 and 1985 and the New York State
Constitution.

30. Plaintiff was damaged by the Defendant’s assault in the amount of Three Hundred
Thousand ($300,000.00 ) Dollars.

SECOND CAUSE OF ACTION
(BATTERY)

31. Paragraphs | through 28 are incorporated herein by reference.

32. Defendants engaged in and subjected Plaintiff to immediate harmful and/or offensive
touching and battered him.

33. Defendants used excessive and unnecessary force with the Plaintiff, tackling him to
the ground, punching him in the face and forcing Plaintiff to submit to their will.

34. Defendants have deprived Plaintiff of his civil, constitutional and statutory rights and
have conspired to deprive him of such rights and are liable to the Plaintiff under 42 U.S.C.
Section 1983 and 1985 and the New York State Constitution.

35. Plaintiff was damaged by the battery of the Defendants in the amount of Three

Hundred Thousand ($300,000.00 ) Dollars.
THIRD CAUSE OF ACTION
(FALSE ARREST)

36. Paragraphs 1 through 33 are incorporated by reference.

37. Defendants subjected Plaintiff to false arrest, imprisonment, and deprivation of liberty
without probable cause.

38. The defendants have deprived Plaintiff of his civil, constitutional and statutory rights
and have conspired to deprive him of such rights and are liable to Plaintiff under 42 U.S.C.
Sections 1983 and 1985 and the New York State Constitution.

39. As aresult of the false arrest, imprisonment, and deprivation of liberty, Plaintiff was
damaged in the sum of Three Hundred Thousand ($300,000.00 ) Dollars.

FOURTH CAUSE OF ACTION
(MUNICIPAL LIABILITY)

40. Paragraphs 1 through 37 are incorporated herein by reference.

41. The Defendant City of New York is liable for damages suffered by the Plaintiff as a
result of the conduct of its employees, agents and servants and the others whose names are
currently unknown.

42. The Defendant City of New York knew or should have known of their employees’
agents’ or servants’ propensity to engage in the illegal and wrongful acts detailed above.

43. Upon information and belief, defendants and their supervisors have in the past falsely
arrested individuals without probable cause, improperly held and/or detained such individuals
without probable cause, and made, and allowed other fellow police officers to make, false entries
in official department records to cover up and hide their wrongful conduct; defendants committed

such actions with a racially discriminatory motive and manner.

44. Defendant City of New York has failed to take the steps to discipline, train, supervise
or otherwise correct the improper, illegal conduct of the individual defendants in this and in
similar case involving misconduct.

45. Defendant City of New York has damaged the Plaintiff by its failure to properly
supervise, train, discipline, review, remove, or correct the illegal and improper acts of its
employees, agents or servants in this and in similar case involving police misconduct.

46. Defendants subjected Plaintiff to false arrest, assault and battery, false imprisonment
solely on the basis of his race, ethnic background and/or color.

47. Plaintiff has been damaged as result of the wrongful, negligent and illegal acts of the

Defendant City of New York in the amount of Three Hundred Thousand ($300,00.00 ) Dollars.

FIFTH CAUSE OF ACTION
(42 U.S.C. Sections 1981 & 1983)

48. Paragraphs 1 through 45 are incorporated herein by reference.

49. Defendants have deprived Plaintiff of his civil, constitutional and statutory rights and
have conspired to deprive him of such rights and are liable to the Plaintiff under 42 U.S.C.
Sections 1981 and 1983 and the New York State Constitution.

50. Defendants’ conduct was motivated by anti-Black American animus.

51. Plaintiff was mistreated by defendants due to his ethnic background.

52. Plaintiff has been damaged as a result of the defendants’ wrongful acts in the amount

of Three Hundred Thousand ($300,000.00.) Dollars.

SIXTH CAUSE OF ACTION
MALICIOUS PROSECUTION

53. Paragraphs 1 through 50 are incorporated herein by reference
54. That the said criminal charges, prosecution were instituted and procured by the
defendants and their agents unlawfully, intentionally, maliciously, in bad faith and without any
reasonable or probable cause whatsoever and with gross negligent regard of Plaintiff's rights, and
in violation of the civil and constitutional rights of the Plaintiff, and that the commencement and
continuation of the criminal proceedings by the Defendants and their agents against the Plaintiff
GARY CAYETANO was without probable cause , with actual malice and was terminated in
favor of the Plaintiff. As a result Plaintiff has been damaged in the amount of $300,000.00.

WHEREFORE, Plaintiff demands judgment against the defendants, jointly and

severally, as follows:

A. In favor of Plaintiff in the amount of Three Hundred Thousand ($300,000.00) Dollars on
each of Plaintiff's Cause of Action;

B. Awarding Plaintiff punitive damages in the amount of Three Hundred Thousand
($300,000.00) Dollars on each of Plaintiff's Cause of Action;

C. Awarding Plaintiff reasonable attorney’s fees, cost and disbursements of this action; and

D. Granting such other and further relief as this Court deems just and proper.

JURY DEMAND

Plaintiff demands a trial by jury.

Dated: Staten Island, New York
April 20, 2015 MY} Vole

ae O/ OHENE, Esq.
Attorney for Plaintiff
805 Castleton Avenue
Staten Island, NY 10310
(718) 727-6607

STATE OF NEW YORK, COUNTY OF SS.:
I, the undersigned, an attorney admitted to practice in the courts of New York State,

[]_ Genitication certify that the within
By Attomey

& has been compared by me with the original and found to be a true and complete copy.

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g Affirmation a ise
s the attorney(s) of record for in the within
3 action: I have read the foregoing and know the contents thereof:
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the same is true to my own knowledge, except as to the matters therein alleged to be on information and belief, and as to those matters
I believe it to be true. The reason this verification is made by me and not by

The grounds of my belief as to all matters not stated upon my own knowledge are as follows:

I affirm that the foregoing statements are true, under the penalties of perjury.
Dated: St a
ea OF NEW YORK, COUNTY OF RICHMOND SS.:
Gary ¢ Cayetano being duly sworn, depose and say: lam complainant
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and know the contents thereof; the same is true to my own knowledge, except
3 as to the matters therein stated to be alleged on information and belief, and as to those matters I believe it to be true.
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: a corporation and a party in the within action; | have read the foregoing

and know the contents thereof; and the same is true to my own knowledge,
except as to the matters therein stated to be alleged upon information and belief, and as to those matters | believe it to be true. This
verification is made by me because the above party is a corporation and I am an officer thereof.
The grounds of my belief as to all matters not stated upon my own knowledge are as follows:

Contents in the file of my attorney

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STATE OF NEW YOR K, COO OF SS.: (If more than one box is checked — indicate after names type of service used.)
I being sworn, say: | am not a party to the action, am over 18 years

of age and reside at
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C] Semce by depositing a true copy thereof enclosed in a post-paid wrapper, in an official depository under the exclusive care and

ByMail custody of the U.S. Postal Service within New York State, addressed to each of the following persons at the last known

address set forth after each name:

Fesonal by delivering a true copy thereof personally to cach person named below at the address indicated. I knew each person served

O ao to be the person mentioned and described in said papers as a party therein:
gy by transmitting the papers by electronic means to the telephone number listed below, which number was designated by the

O Y attorney for such purpose. I received a signal from the equipment of the attorney served indicating that the transmission was

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Means received. 1 also deposited a true copy of the papers, enclosed in a post-paid wrapper, in an official depository under the
exclusive care and custody of the U.S. Postal Service, addressed to the attorney at the address set forth after the name:

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